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                                United States District Court
                                     EASTERN DISTRICT OF TEXAS
                                         SHERMAN DIVISION


     JLR GLOBAL, LLC, ET AL.                         §
                                                     § Civil Action No. 4:22cv559
     v.                                              § Judge Mazzant
                                                     §
     PAYPAL HOLDING COMPANY                          §

                                       ORDER OF REFERRAL

.           Pursuant to 28 U.S.C. §636 and the Local Rules of this Court for the Assignment of Matters

    to Magistrate Judges, the Court hereby REFERS the above-referenced case to the Hon. Bill Davis

    for all pretrial proceedings.

            IT IS SO ORDERED.
           SIGNED this 31st day of March, 2025.




                                          ___________________________________
                                          AMOS L. MAZZANT
                                          UNITED STATES DISTRICT JUDGE
